
McKinney, J.,
delivered the opinion of the Court.
This was an indictment against the corporation, for suffering one of the public streets of the town to remain out of repair for more than fifteen days. Verdict and judgment against the corporation, and an appeal in error t this Court.
*579The ground of defense was, that the street mentioned in the indictment, was in a remote and sparsely inhabited part of the town; that it had been very little used, and its use was not essential to the public convenience; that it had never been opened or worked on by the corporation, and to open, and put it in order, would be attended with an expense beyond the means of the corporation.
The Court held, and we think correctly, that these facts constituted no defense to the indictment.
So long as the street was recognized, and suffered to remain, as one of the public streets of the town, it was the duty of the corporation to keep it in such reasonable repair as might be necessary to the convenience of any portion of the inhabitants residing on or near to said street, or to the public in general.
The administration of the affairs of these incorporated towns, should be upon the principle, that all the inhabitants ought to share equally the benefits, as well as the burdens of the corporation, as far as may be practicable. This principle is sometimes so entirely disregarded, as to create the impression that the interests of particular individuals or classes of the inhabitants, is the chief object in the expenditure of the corporate funds. This is a gross violation of the trust reposed in the corporate authorities, and must not be countenanced.
Judgment affirmed.
